       Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 1 of 9

 1   BUCHALTER
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     ADAM SMITH (SBN: 322035)
 3   NATALIYA SHTEVNINA (SBN: 339094)
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 4   Sacramento, CA 95814
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            apsmith@buchalter.com
 6          nshtevnina@buchalter.com
 7   Attorneys for Defendants
     Ned Anderson (individually and as trustee of the Ned Kirby Anderson Trust), Neil Anderson,
 8   Glenn Anderson, Janet Blegen (individually and as trustee of the Janet Elizabeth Blegen Separate
     Property Trust), Robert Anderson (individually and as trustee of the Robert Todd Anderson Living
 9   Trust), Stan Anderson, Lynne Mahre, Sharon Totman, Amber Bauman and Christopher Wycoff
10
     C. Matthew Gaebe, SBN 263240                    HOGE, FENTON, JONES & APPEL, INC.
11   Thomas E. Hornburg, SBN201324                   STEVEN J. KAHN
                                                     ALEXANDER H. RAMON
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15                                                   Attorneys for Defendant
     Attorneys for Defendant Richard Anderson,       Ronald Gurule (individually and as trustee of
16   (Individually and as Trustee of the REA         the Ronald Gurule 2013 Family Trust)
     Properties Trust)
17                                                   DAVIS WRIGHT TREMAINE LLP
                                                     ALLISON A. DAVIS
18                                                   SANJAY M. NANGIA
                                                     50 California Street, 23rd Floor
19                                                   San Francisco, CA 94111
                                                     Telephone: (415) 276-6500
20                                                   allisondavis@dwt.com
                                                     sanjaynangia@dwt.com
21
                                                     Attorneys for Defendant
22                                                   William C. Dietrich
                                                     (individually and as trustee of the Child’s Trust
23                                                   FBO William C. Dietrich, a subtrust under the
                                                     Trust of William C. Dietrich and Ivanna S.
24                                                   Dietrich)
     ///
25

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                                                                        CASE NO. 2:23-cv-00927-TLN-AC
               DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
       Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 2 of 9
                                                    ROPERS MAJESKI PC
 1   RIMON, P.C.                                    MICHAEL J. IOANNOU (SBN: 95208)
     GABRIEL G. GREGG (SBN 187333)                  DAVID B. DRAPER (SBN: 107790)
 2   gabriel.gregg@rimonlaw.com                     KEVIN W. ISAACSON (SBN: 281067)
     800 Oak Grove Avenue, Suite 250                333 West Santa Clara St., Suite 910
 3   Menlo Park, California 94025                   San Jose CA 95113
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 4   Facsimile: 650.461.4433                        david.draper@ropers.com
                                                    Attorneys for Defendants
 5   Attorneys for the                              Paul Dietrich (individually and as trustee of the
     MAHONEY DEFENDANTS                             Child’s Trust FBO Paul S. Dietrich, a subtrust
 6                                                  under the Trust of William C. Dietrich and
                                                    Ivanna S. Dietrich; John Alsop (individually
 7                                                  and as trustee of the John G. Alsop Living
                                                    Trust), Nancy Roberts (individually and as
 8                                                  trustee of the Nancy C. Roberts Living Trust),
                                                    Janet Zanardi (individually and as trustee of
 9                                                  Trust A under the Zanardi Revocable Trust)
     GLYNN, FINLEY, MORTL,
10   HANLON & FRIEDENBERG, LLP
     CLEMENT L. GLYNN, Bar No. 57117
11   cglynn@glynnfinley.com
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13   bphelps@glynnfinley.com
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15   100 Pringle Avenue, Suite 500
     Walnut Creek, CA 94596
16   Telephone: (925) 210-2800
     Facsimile: (925) 945-1975
17
     Attorneys for Defendants Ian Anderson
18   (Individually and as Trustee of the Ian and
     Margaret Anderson Family Trust), Margaret
19   Anderson (Individually and as Trustee of the
     Ian
20   and Margaret Anderson Family Trust), Neil
     Anderson, and Maryn Anderson
21

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                                                                       CASE NO. 2:23-cv-00927-TLN-AC
               DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
      Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 3 of 9
                                 UNITED STATES DISTRICT COURT
 1
                                 EASTERN DISTRICT OF CALIFORNIA
 2

 3

 4   FLANNERY ASSOCIATES LLC,                    Case No. 2:23-CV-00927-TLN-AC
 5                  Plaintiff,                   DEFENDANTS’ JOINT AMENDED
                                                 NOTICE OF MOTION, REQUEST FOR
 6       vs.                                     INFORMAL TELEPHONIC
                                                 DISCOVERY CONFERENCE, AND
 7   BARNES FAMILY RANCH ASSOCIATES,             MOTION FOR A PROTECTIVE
     LLC, LAMBIE RANCH ASSOCIATES, LLC,          ORDER PURSUANT TO FED. R. CIV.
 8   KIRBY HILL ASSOCIATES, LLC, BARNES          P. 26
     FAMILY RANCH CORPORATION, LAMBIE
 9   RANCH CORPORATION, KIRBY HILL
     CORPORATION, KIRK BEEBE, SUSAN              Date:         December 20, 2023
10   BEEBE FURAY, MURRAY BANKHEAD                Time:         10 a.m.
     (INDIVIDUALLY AND AS TRUSTEE FOR            Dept.:        Courtroom 26, 8th Floor
11   THE BAUMBACH FAMILY TRUST),                 Before:       Hon. Allison Claire
     MICHAEL RICE (INDIVIDUALLY AND AS
12   TRUSTEE FOR THE RICE FAMILY TRUST);         Trial Date:   None Set
     CHRISTINE MAHONEY LIMITED
13   PARTNERSHIP, CHRISTINE MAHONEY
     LIMITED PARTNERSHIP MANAGEMENT
14   COMPANY, EMIGH LAND LP, EL
     GENERAL PARTNER, LLC, CHRISTINE
15   MAHONEY (INDIVIDUALLY AND AS
     TRUSTEE OF THE MAHONEY 2005
16   FAMILY TRUST), DANIEL MAHONEY
     (INDIVIDUALLY AND AS TRUSTEE OF
17   THE MAHONEY 2005 FAMILY TRUST);
     IAN ANDERSON (INDIVIDUALLY AND AS
18   TRUSTEE OF THE IAN AND MARGARET
     ANDERSON FAMILY TRUST), MARGARET
19   ANDERSON (INDIVIDUALLY AND AS
     TRUSTEE OF THE IAN AND MARGARET
20   ANDERSON FAMILY TRUST), NEIL
     ANDERSON, MARYN ANDERSON,
21   WILLIAM DIETRICH (INDIVIDUALLY AND
     AS TRUSTEE OF THE CHILD’S TRUST FBO
22   WILLIAM C. DIETRICH, A SUBTRUST
     UNDER THE TRUST OF WILLIAM C.
23   DIETRICH AND IVANNA S. DIETRICH),
     PAUL DIETRICH (INDIVIDUALLY AND AS
24   TRUSTEE OF THE CHILD’S TRUST FBO
     PAUL S. DIETRICH, A SUBTRUST UNDER
25   THE TRUST OF WILLIAM C. DIETRICH
     AND IVANNA S. DIETRICH), JOHN ALSOP
26   (INDIVIDUALLY AND AS TRUSTEE OF
     THE JOHN G. ALSOP LIVING TRUST),
27   NANCY ROBERTS (INDIVIDUALLY AND
     AS TRUSTEE OF THE NANCY C. ROBERTS
28   LIVING TRUST), JANET ZANARDI
     (INDIVIDUALLY AND AS TRUSTEE OF

                                                                  CASE NO. 2:23-cv-00927-TLN-AC
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       Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 4 of 9
     TRUST A UNDER THE ZANARDI
     REVOCABLE TRUST), RONALD GURULE
 1   (INDIVIDUALLY AND AS TRUSTEE OF
     THE RONALD GURULE 2013 FAMILY
 2   TRUST), RICHARD ANDERSON
     (INDIVIDUALLY AND AS TRUSTEE OF
 3   THE REA PROPERTIES TRUST), DAVID
     ANDERSON (INDIVIDUALLY AND AS
 4   TRUSTEE OF THE IRWIN E. ANDERSON
     SURVIVOR’S TRUST), DEBORAH
 5   WORKMAN (INDIVIDUALLY AND AS
     TRUSTEE OF THE IRWIN E. ANDERSON
 6   SURVIVOR’S TRUST), CAROL HOFFMAN
     (INDIVIDUALLY AND AS TRUSTEE OF
 7   THE IRWIN E. ANDERSON SURVIVOR’S
     TRUST), NED ANDERSON (INDIVIDUALLY
 8   AND AS TRUSTEE OF THE NED KIRBY
     ANDERSON TRUST), NEIL ANDERSON,
 9   GLENN ANDERSON, JANET BLEGEN
     (INDIVIDUALLY AND AS TRUSTEE OF
10   THE JANET ELIZABETH BLEGEN
     SEPARATE PROPERTY TRUST), ROBERT
11   ANDERSON (INDIVIDUALLY AND AS
     TRUSTEE OF THE ROBERT TODD
12   ANDERSON LIVING TRUST), STAN
     ANDERSON, LYNNE MAHRE, SHARON
13   TOTMAN, AMBER BAUMAN,
     CHRISTOPHER WYCOFF;
14   AND JOHN DOES 1-50,
15                  Defendants.
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                                                          CASE NO. 2:23-cv-00927-TLN-AC
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 1   TO FLANNERY ASSOCIATES LLC AND ITS ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that on December 20, 2023, at 10:00 a.m., or as soon thereafter

 3   as the matter may be heard by the Honorable Allison Claire, in Courtroom 26 on the 8th floor of the

 4   U.S. District Court for the Eastern District of California, Sacramento Division, 501 I Street,

 5   Sacramento, California 95814, Defendants Christine Mahoney Limited Partnership, Christine

 6   Mahoney Limited Partnership Management Company, Emigh Land LP, El General Partner, LLC,

 7   Christine Mahoney (individually and as trustee of the Mahoney 2005 Family Trust), Daniel

 8   Mahoney (individually and as trustee of the Mahoney 2005 Family Trust, Ian Anderson

 9   (individually and as trustee of the Ian and Margaret Anderson Family Trust); Margaret Anderson

10   (individually and as trustee of the Ian and Margaret Anderson Family Trust), Neil Anderson,

11   Maryn Anderson, William Dietrich (individually and as trustee of the Child’s Trust FBO William

12   C. Dietrich, a subtrust under the Trust of William C. Dietrich and Ivanna S. Dietrich), Paul

13   Dietrich (individually and as trustee of the Child’s Trust FBO Paul S. Dietrich, a subtrust under the

14   Trust of William C. Dietrich and Ivanna S. Dietrich), John Alsop (individually and as trustee of the

15   John G. Alsop Living Trust), Nancy Roberts (individually and as trustee of the Nancy C. Roberts

16   Living Trust), Janet Zanardi (individually and as trustee of Trust A under the Zanardi Revocable

17   Trust), Ronald Gurule (individually and as trustee of the Ronald Gurule 2013 Family Trust), Ned

18   Anderson (individually and as trustee of the Ned Kirby Anderson Trust), Neil Anderson, Glenn

19   Anderson, Janet Blegen (individually and as trustee of the Janet Elizabeth Blegen Separate

20   Property Trust), Robert Anderson (individually and as trustee of the Robert Todd Anderson Living

21   Trust), Stan Anderson, Lynne Mahre, Sharon Totman, Amber Bauman, Christopher Wycoff, and

22   Richard Anderson (Individually and as Trustee of the REA Properties Trust) (“Defendants”), will

23   and hereby do move this Court under Federal Rule of Civil Procedure 26(c) and Local Rule 251 for

24   a protective order (1) relieving them of the obligation to respond to Plaintiff’s Requests for

25   Production of Documents, and (2) staying all third-party discovery, pending resolution of the

26   motion to dismiss filed July 11, 2023 (ECF No. 78).

27          Following extensive meet and confer between the parties, Plaintiff agreed to the filing of

28   this amended notice so that the parties’ joint statement could also address pending third-party

                                         1             CASE NO. 2:23-cv-00927-TLN-AC
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     discovery - 11 subpoenas to former parties and third parties – which was served after Defendants
 1
     had filed their initial motion. Because the subpoenas’ return date is before the stipulated hearing
 2
     date on this motion, Defendants asked Plaintiff to agree to hold the third-party discovery in
 3
     abeyance until the Court could hear and decide the motion. Plaintiff refused to agree to this
 4
     proposal, and also refused to stipulate to a joint telephonic conference with Judge Claire.
 5
     Notwithstanding Plaintiff’s refusal to stipulate, Defendants respectfully request the opportunity to
 6
     convene an informal telephonic conference in advance of December 11, which is the return date on
 7
     the majority of the subpoenas. Additionally, Defendants have filed herewith a declaration
 8
     requesting oral argument on this motion so that an attorney with fewer than four years of
 9
     experience may argue the motion.
10
            As Defendants will demonstrate in their Joint Statement re Discovery Disagreement (“Joint
11
     Statement”) all discovery should be stayed pending Defendants’ dispositive Motion to Dismiss.
12
     See Pac. Lumber Co. v. Nat'l Union Fire Ins. Co. of Pittsburgh, PA, 220 F.R.D. 349, 352 (N.D.
13
     Cal. 2003) (discovery may be stayed pending a dispositive motion if the “pending motion is
14
     potentially dispositive of the entire case, or at least dispositive on the issue at which the discovery
15
     is directed . . . and the pending dispositive motion can be decided absent additional discovery.”)
16
     Furthermore, the Court should issue a protective order to protect Defendants from the annoyance,
17
     embarrassment, oppression, undue burden or expense associated with the discovery served by
18
     Plaintiff to date, including third-party discovery to non-parties and parties that Plaintiff previously
19
     dismissed with prejudice. Both the burden and expense of such discovery outweighs its likely
20
     benefit. Fed R. Civ. P. 26(b)(2)(C).
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                                         2             CASE NO. 2:23-cv-00927-TLN-AC
                DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
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            This motion is based upon this amended notice and motion; the parties Joint Statement that
 1
     will be filed not later than 14 days prior to the hearing date, as well as the pleadings, records, and
 2
     files in this action and any other matters that may properly come before this Court.
 3

 4   Dated: November 21, 2023                               BUCHALTER
                                                            KEVIN T. COLLINS
 5                                                          PHILLIP CHAN
                                                            ADAM SMITH
 6                                                          NATALIYA SHTEVNINA
                                                            A Professional Corporation
 7                                                          500 Capitol Mall, Suite 1900
                                                            Sacramento, CA 95814
 8
                                                            By       /s/ Kevin T. Collins
 9                                                               Attorneys for Defendants
10                                                               Ned Anderson (individually and as trustee
                                                                 of the Ned Kirby Anderson Trust), Neil
11                                                               Anderson, Glenn Anderson, Janet Blegen
                                                                 (individually and as trustee of the Janet
12                                                               Elizabeth Blegen Separate Property Trust),
13                                                               Robert Anderson (individually and as
                                                                 trustee of the Robert Todd Anderson
14                                                               Living Trust), Stan Anderson, Lynne
                                                                 Mahre, Sharon Totman, Amber Bauman
15                                                               and Christopher Wycoff
16

17   Dated: November 21, 2023                               HOUK & HORNBURG, INC.
                                                            WILLIAM N. HANNAH
18                                                          C. MATTHEW GAEBE
                                                            206 S. Mooney Blvd.
19                                                          Visalia, CA 93291
20
                                                            By       /s/ William N. Hannah
21                                                               (authorized on November 21, 2023)
                                                                 Attorneys for Defendant Richard
22                                                               Anderson, (Individually and as
                                                                 Trustee of the REA Properties
23                                                               Trust)

24

25

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                                         3             CASE NO. 2:23-cv-00927-TLN-AC
                DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
      Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 8 of 9
     Dated: November 21, 2023                 GLYNN, FINLEY, MORTL,
 1                                            HANLON & FRIEDENBERG, LLP
                                              CLEMENT L. GLYNN
 2                                            ADAM FRIEDENBERG
                                              ROBERT C. PHELPS
 3                                            MORGAN K. LOPEZ
                                              One Walnut Creek Center
 4                                            100 Pringle Avenue, Suite 500
                                              Walnut Creek, CA 94596
 5
                                              By       /s/ Morgan K. Lopez
 6                                                 (authorized on November 21,2023)
                                                   Attorneys for Defendants Ian Anderson
 7                                                 (Individually and as Trustee of the Ian and
 8                                                 Margaret Anderson Family Trust),
                                                   Margaret Anderson (Individually and as
 9                                                 Trustee of the Ian and Margaret Anderson
                                                   Family Trust), Neil Anderson, and Maryn
10                                                 Anderson
11
     Dated: November 21, 2023                 DAVIS WRIGHT TREMAINE LLP
12                                            ALLISON A. DAVIS
                                              SANJAY M. NANGIA
13                                            50 California Street, 23rd Floor
                                              San Francisco, CA 94111
14

15                                            By: /s/Allison A. Davis
                                                 (authorized on November 21, 2023)
16                                               Attorneys for Defendant
                                                 WILLIAM DIETRICH
17                                               (individually and as trustee of the Child’s
                                                 Trust FBO William C. Dietrich, a subtrust
18
                                                 under the Trust of William C. Dietrich and
19                                               Ivanna S. Dietrich)

20   Dated: November 21, 2023                 RIMON, P.C.
                                              GABRIEL G. GREGG
21                                            A Professional Corporation
                                              800 Oak Grove Avenue, Suite 250
22                                            Menlo Park, California 94025
23                                            By       /s/ Gabriel G. Gregg
                                                   (authorized on November 21, 2023)
24                                                 Attorneys for the Mahoney Defendants
25

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                                       4             CASE NO. 2:23-cv-00927-TLN-AC
              DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
       Case 2:23-cv-00927-TLN-AC Document 91 Filed 11/22/23 Page 9 of 9

     Dated: November 21, 2023                              HOGE FENTON JONES & APPEL INC.
 1
                                                           STEVEN J. KAHN
 2                                                         ALEXANDER H. RAMON

 3                                                         By       /s/ Steven J. Kahn
                                                                (authorized on November 21, 2023)
 4                                                              Attorneys for Defendant Ronald Gurule
 5                                                              (individually and as trustee of the Ronald
                                                                Gurule 2013 Family Trust)
 6
     Dated: November 21, 2023                              ROPERS MAJESKI PC
 7                                                         MICHAEL J. IOANNOU (SBN: 95208)
                                                           DAVID B. DRAPER (SBN: 107790)
 8
                                                           KEVIN W. ISAACSON (SBN: 281067)
 9                                                         333 West Santa Clara St., Suite 910
                                                           San Jose CA 95113
10
                                                           By       /s/ David B. Draper
11                                                              (authorized on November 21, 2023)
                                                                Attorneys for Paul Dietrich (individually
12                                                              and as trustee of the Child’s Trust FBO Paul
                                                                S. Dietrich, a subtrust under the Trust of
13                                                              William C. Dietrich and Ivanna S. Dietrich;
                                                                John Alsop (individually and as trustee of
14                                                              the John G. Alsop Living Trust), Nancy
                                                                Roberts (individually and as trustee of the
15                                                              Nancy C. Roberts Living Trust), Janet
                                                                Zanardi (individually and as trustee of Trust
16                                                              A under the Zanardi Revocable Trust)
17
                                              ATTESTATION
18
            I, Kevin T. Collins, attest that for all conformed signatures indicated by a “/s/,” the
19
     signatory has concurred in the filing of this document.
20

21   DATED: November 21, 2023                                     /s/ Kevin T. Collins
22                                                                  KEVIN T. COLLINS

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                                        5             CASE NO. 2:23-cv-00927-TLN-AC
               DEFENDANTS’ JOINT AMENDED MOTION FOR PROTECTIVE ORDER
